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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: GENERIC PHARMACEUTICALS                               MDL 2724
PRICING ANTITRUST LITIGATION                                 16-MD-2724

                                                             HON. CYNTHIA M. RUFE
THIS DOCUMENT RELATES TO:
                                                             Civil Action No. 18-3299
Humana Inc. v. Actavis Elizabeth, LLC                        (This Order to be docketed in the
                                                             individual case and on the Master
                                                             Docket)



                                               ORDER

        AND NOW, this 20th day of November 2018, upon consideration of Humana Inc.’s

Motion to Incorporate the Action into the MDL [MDL Doc. No. 751 and Doc. No. 22 in Civil

Action No. 18-3299], to which no opposition has been filed, and as discussed at the Status

Conference held this date, it is hereby ORDERED that the Motion is GRANTED as follows:

        Civil Action No. 18-3299 is INCORPORATED into the MDL. As it is not a class

action, the case is not placed within the existing Plaintiff Groups; however, the Court will not

appoint leadership or create a separate track for the action at this time. Counsel for Plaintiff in

Civil Action No. 18-3299 shall coordinate with Lead and Liaison Counsel to advance the

litigation effectively and efficiently, and all documents relating to this action shall be filed in the

individual case.

        It is so ORDERED.

                                                        BY THE COURT:

                                                        /s/ Cynthia M. Rufe
                                                        ____________________
                                                        CYNTHIA M. RUFE, J.
